Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 1 of 15




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01406

  FABIOLA MUNOZ, an Individual, and
  ACCESS 4 ALL, INC., a Florida Non-Profit Corporation

                  Plaintiffs,

  vs.

  CYHAWK HOSPITALITY, INC., an Iowa Corporation, and
  SEGURA INVESTORS X LLC, a Delaware Limited Liability Company

              Defendants.
  ___________________________________________________________________________/

  ____________________________________________________________________________________________

                                           COMPLAINT
  ____________________________________________________________________________________________

         Plaintiffs, FABIOLA MUNOZ, an individual, and ACCESS 4 ALL, INC., a Florida Non-

  Profit Corporation ("Plaintiffs" or "Plaintiffs"), on their behalf and on behalf of all other-mobility

  impaired individuals similarly situated hereby sues the Defendants, CYHAWK HOSPITALITY,

  INC., an Iowa Corporation, and SEGURA INVESTORS X LLC, a Delaware Limited Liability

  Company ("Defendants"), for injunctive relief, damages, attorney's fees, litigation expenses, and

  costs pursuant to the Americans with Disabilities Act, 42 U.S.C. §12181 et seq. ("ADA") and the

  Colorado Anti-Discrimination Act, C. R. S. § 24-34-601 et seq. ("CADA").


                                              The Parties

         1.      Plaintiff, FABIOLA MUNOZ, is an individual over eighteen years of age and is

  otherwise sui juris. Although a resident of Florida, Ms. Munoz spends extensive time throughout

  the year in Colorado, both for pleasure and for matters pertaining to the operation of Access 4 All,

                                                    1
Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 2 of 15




  Inc.

            2.       Plaintiff, ACCESS 4 ALL, INC., is a non-profit corporation with a mission of

  ensuring enjoyment and equal access for disabled persons in all places of public accommodation.

  This entity was formed under the laws of the State of Florida and remains in good standing.

            3.       Defendant, CYHAWK HOSPITALITY, INC., an Iowa Corporation, owns, leases,

  leases to, or operates a place of public accommodation, alleged by the Plaintiffs to be operating in

  violation of Title III of the ADA and the CADA.

            4.       Defendant, SEGURA INVESTORS X LLC, a Delaware Limited Liability

  Company, owns, leases, leases to, or operates a place of public accommodation, alleged by the

  Plaintiffs to be operating in violation of Title III of the ADA and the CADA.

                                                  Jurisdiction and Venue

            5.       Defendants’ property is a restaurant, known as Perkins Restaurant and Bakery

  (“Perkins”), and adjacent parking lot located at 3295 E. Platte Boulevard, Colorado Springs,

  Colorado 80909, in El Paso County ("Subject Property").

            6.       Venue is properly located in the District of Colorado because venue lies in the

  judicial district of the property situs. The Defendants’ property is located in and does business

  within this judicial district.

            7.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1343, this Court has been given

  original jurisdiction over actions which arise from the Defendants’ violations of Title III of the

  Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.1

            8.       Jurisdiction over the state law claim vests with this Court pursuant to 28 U.S.C §



  1
      See, also, 28 U.S.C. § 2201 and 28 U.S.C. § 2202

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Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 3 of 15




  1367.

             9.      The Defendant, CYHAWK HOSPITALITY, INC., owns and/or operates a place of

  public accommodation as defined by the ADA and the regulations implementing the ADA. The

  Defendant is thus required to comply with the obligations of the ADA.2

             10.     The Defendant, SEGURA INVESTORS X LLC, owns and/or operates a place of

  public accommodation as defined by the ADA and the regulations implementing the ADA. The

  Defendant is thus required to comply with the obligations of the ADA.3

             11.     Plaintiff, FABIOLA MUNOZ, is an individual with disabilities as defined by and

  pursuant to the ADA. Ms. Munoz is a paraplegic, with no use of her lower extremities, stemming

  from a severe spine injury and therefore has a physical impairment that substantially limits many

  of her major life activities4 including, but not limited to, not being able to walk or stand. Ms.

  Munoz requires the use of a wheelchair to ambulate. Ms. Munoz is a member of Plaintiff

  organization Access 4 All, Inc.

             12.     Plaintiff organization, ACCESS 4 ALL, INC., is comprised of individuals with

  disabilities, as defined by the ADA. The primary purpose of this organization is to represent the

  interest of its members by ensuring that they are not discriminated against at places of public

  accommodation.

                                                     Factual Context

             13.     Ms. Munoz is a staunch advocate of the ADA. Since becoming aware of her rights,

  and their constant infringement, she has dedicated her life to this cause so that she, and others like



  2
      28 C.F.R. § 36.201(a) and 28 C.F.R. § 36.104
  3
      28 C.F.R. § 36.201(a) and 28 C.F.R. § 36.104
  4
      as defined by 28 C.F.R. § 36.105(b)(1-2)

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Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 4 of 15




  her, may have full and equal enjoyment of public accommodations without the fear of

  discrimination and repeated exposure to architectural barriers.

            14.   Ms. Munoz encounters architectural barriers at many of the places she visits.

  Seemingly trivial architectural features such as parking spaces, ramps, and door handles are taken

  for granted by the non-disabled but, when implemented improperly, are cumbersome, arduous,

  and even dangerous for her and other wheelchair users.

            15.   The barriers to access that Ms. Munoz experiences at differing places of public

  accommodation are similar in nature. For example, she is repeatedly faced with sloping in parking

  lots, cracks in sidewalks and asphalt, and improper restrooms and water closets (even when

  designated "accessible" or "handicapped"). She is often angered and disheartened by the

  repetitiveness of the complaints she is forced to make to employees and management, to no avail.

  Ms. Munoz is fully aware that the only way to affect change is through the ADA.

            16.   Ms. Munoz has visited the Subject Property on multiple occasions, her most recent

  visit occurred on or about April 15, 2022. On this occasion Ms. Munoz visited the Subject Property

  as a bone fide purchaser to avail herself of the goods and services offered to the public within but

  found that the Subject Property contained many violations of the ADA, both architecturally and in

  policy.

            17.   The Subject Property is not the type of restaurant that requires reservations, but Ms.

  Munoz intends to return on or about August 1, 2022, and on or about November 1, 2022, during

  her next visits to the Colorado Springs area - where she is a frequent traveler, and regularly

  conducts business pertaining to Access 4 All, Inc. She intends to revisit the Subject Property not

  only as a bone fide purchaser but also to monitor any progress made with to respect to ADA

  compliance.

                                                    4
Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 5 of 15




         18.     Ms. Munoz has personally encountered exposure to architectural barriers and

  otherwise harmful conditions that have endangered her safety at the Subject Property.

         19.     The ADA has been law for over thirty (30) years and the Subject Property remains

  non-compliant. Thus, the Plaintiffs have reasonable grounds to believe that they will continue to

  be subjected to discrimination by the Defendants.

         20.     Ms. Munoz has a realistic, credible, existing, and continuing threat of

  discrimination from the Defendants’ non-compliance with the ADA with respect to this property,

  as described, but not necessarily limited to, the barriers she has personally experienced which are

  listed in paragraph 26 of this Complaint.

         21.     Following any resolution of this matter Ms. Munoz will ensure that the Subject

  Property undertakes the remedial work that is required under the appropriate standard and is

  compliant with the ADA. This reinspection will occur as set forth in the parties’ settlement

  agreement or as ordered by this Court.

                                              COUNT I
                                  Violation of Title III of the
                    Americans with Disabilities Act, 42 U.S.C. § 12181, et seq.

         22.     The Plaintiffs reallege and incorporate by reference all of the allegations contained

  in all of the preceding paragraphs.

         23.     The Defendants have discriminated against the Plaintiffs, and others similarly

  situated, by denying access to, and full and equal enjoyment of, the goods, services, facilities,

  privileges, advantages and/or accommodations of the Subject Property, as prohibited by the ADA.

         24.     A preliminary ADA inspection of the Defendants’ property has shown that

  violations of the ADAAG and the 2010 ADA Standards currently exist.



                                                   5
Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 6 of 15




         25.     The remediation of all violations/barriers listed in paragraph 26 are readily

  achievable.

         26.     The following are architectural barriers and violations of the ADA that Ms. Munoz

  has personally encountered during her visits to the Subject Property:

  Accessible Parking


     a. The accessible parking spaces located at the Subject Property lack clear and level access

         aisles, contain sloping and cross-sloping beyond the allowable limts, are not located on

         firm, stable, and level slip-resistant surfaces, and are not located on the nearest, most direct

         accessible route from parking to access the facility entrances. There barriers are violations

         of the ADAAG and Section 502 of the 2010 ADA Standards. The lack of adequate parking

         and access aisles has forced Ms. Munoz to park in open areas of the parking lot where she

         can freely access her vehicle; she must travel through the vehicular area of the parking lot

         to reach the restaurant.

     b. The Subject Property contains insufficient accessible parking signs, in violation of

         ADAAG Section 4.6 and Section 502 of the 2010 ADA Standards.

     c. The Subject Property does not provide the required amount of compliant accessible parking

         spaces, in violation of ADAAG and Section 502 of the 2010 ADA Standards. Due to the

         lack of accessible parking Ms. Munoz has been forced to park away from the restaurant to

         ensure that she could freely and safely access her vehicle. The table located within Section

         208.2 of the 2010 ADA Standards illustrates the required number of accessible parking

         spaces/van parking spaces and access aisles/van access aisles; this number is based upon

         the total count of parking spaces located at the Subject Property.


                                                    6
Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 7 of 15




  Entrance Access and Exterior Paths of Travel


     d. Curb ramps provided at the Subject Property do not comply with the ADAAG or the 2010

        ADA Standards and are unsafe for use by Ms. Munoz. The existing curb ramps contain

        excessive sloping and cross-sloping, and abrupt changes of level; in violation of ADAAG

        and Sections 405 and 406 of the 2010 ADA Standards. These ramps and curb ramps are

        located along the exterior accessible route and Ms. Munoz is forced to navigate through

        tipping hazards and obstacles which could cause damage to her wheelchair.

     e. There is no compliant route from transit, sidewalks, or parking areas to access Perkins at

        the Subject Property. The accessible routes contain hazardous conditions such as abrupt

        changes of level, sloping beyond the allowable limits, gaps in the concrete/asphalt, and an

        overall failure to provide a safe accessible route to the ramps and curb ramps, a violation

        of ADAAG Sections 4.1.2, 4.3, 4.7 as well as 4.8 and Sections 302.3, 402, 403, 405, 405.8,

        406 of the 2010 ADA Standards. When traveling from the parking lot to the building along

        the exterior accessible route Ms. Munoz is forced travel around the above obstacles (which

        present a tipping hazard) and into the traffic area of the parking lot which puts her in danger

        of encountering moving vehicles.

     f. The Subject Property fails to provide a safe, compliant, and accessible route to the street

        or sidewalk; in violation of ADAAG and Section 206.2.1 of the 2010 ADA Standards. Due

        to this barrier Ms. Munoz could not access the Subject Property from those areas, limiting

        her options for access.




                                                  7
Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 8 of 15




  Access to Goods and Services

     g. Perkins fails to provide the requisite number of accessible dining tables in violation of

        ADAAG and Section 902 of the 2010 ADA Standards. Due to the lack of accessible tables

        Ms. Munoz has been unable to dine in a comfortable manner.

  Restrooms

     h. The restrooms provided within Perkins are not ADA compliant and are unsafe for use by

        Ms. Munoz. The barriers to access personally experienced by Ms. Munoz within the

        restrooms include inaccessible water closets which lack proper controls, improper

        centerlines, improperly mounted grab bars, improperly mounted dispensers, and a lack of

        clear floor space; in violation of ADAAG and Section 601 of the 2010 ADA Standards.

     i. Grab bars within the restroom are improperly mounted, a violation of ADAAG and

        Sections 604 and 609 of the 2010 ADA Standards. Ms. Munoz could not safely/freely use

        the restroom due to the improper location of the grab bars.

     j. The restrooms within Pikes Perk contain improper centerlines for the water closets and

        flush controls which are mounted on the wall-side; a violation of ADAAG and Section 604

        of the 2010 ADA Standards. Improper centerlines make toilet transfer exceedingly

        difficult; thus Ms. Munoz has been unable to make full use of these restrooms without

        assistance. Flush controls mounted on the wall-side of a toilet are inaccessible to Ms.

        Munoz and those in wheelchairs, flush controls are required to be mounted on the open

        side.

     k. Coat hooks and storage areas are improperly located/mounted which prevented Ms. Munoz

        from accessing them; this is a violation of the ADAAG and the 2010 ADA Standards.

     l. Due to improper stall door hardware Ms. Munoz could not access the restroom doors

                                                 8
Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 9 of 15




            without assistance; a violation of the ADAAG and Section 604 the 2010 ADA Standards.

            Stalls doors are required to be self-closing.



            27.      Each of the foregoing violations is also a violation of the ADA Standards for

  Accessible Design, originally published on July 26, 1991 and republished as Appendix D to 28

  C.F.R. part 36 ("1991 Standards"); the "2004 ADAAG", which refers to ADA Chapter 1, ADA

  Chapter 2, and Chapters 3 through 10 of the Americans with Disabilities Act and the Architectural

  Barriers Act Accessibility Guidelines, which were issued by the Access Board on July 23, 2004

  and codified at 36 C.F.R. § 1191, appendix B and D; and the 2010 Standards for Accessible Design

  ("2010 ADA Standards"), as promulgated by the U.S. Department of Justice.5

            28.      The discriminatory violations described in paragraph 26 may not be an exhaustive

  list of the ADA violations that exist at the Subject Property, but they are the result of a preliminary

  inspection conducted by the Plaintiffs’ expert and include all those personally experienced by Ms.

  Munoz.        Plaintiffs require a more thorough inspection of the Defendants’ place of public

  accommodation to photograph and measure the architectural barriers which exist at the Subject

  Property and violate the ADA.

            29.      Ms. Munoz, and all others similarly situated, will continue to suffer discrimination,

  injury and damage without the immediate relief provided for by the ADA and requested herein.

            30.      Defendants have discriminated against Ms. Munoz, and all those similarly situated,

  by denying her/them access to full and equal enjoyment of the goods, services, facilities,

  privileges, advantages and/or accommodations of its place of public accommodation or



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      28 C.F.R. § 36.104

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Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 10 of 15




  commercial facility in violation of the ADA.

             31.     Defendants continue to discriminate against Ms. Munoz, and all those similarly-

  situated, by failing to remove architectural barriers, and communication barriers that are structural

  in nature.6

             32.     Defendants continue to discriminate against Ms. Munoz, and all those similarly-

  situated, by failing to make reasonable modifications in policies, practices, or procedures, when

  such modifications are necessary to afford all offered goods, services, facilities, privileges,

  advantages, or accommodations to individuals with disabilities.7

             33.     Defendants continue to discriminate against Ms. Munoz, and all those similarly

  situated, by failing to take such efforts that may be necessary to ensure that no individual with a

  disability is excluded, denied services, segregated, or otherwise treated differently than other

  individuals because of the absence of auxiliary aids and services.8

             34.     If the Defendants’ facility is one which was designed and constructed for first

  occupancy after January 26, 19939 then the Defendants’ facility must be readily accessible to and

  useable by individuals with disabilities in accordance with the 1991 Standards.

             35.     Pursuant to 28 C.F.R. § 36.304(a)(1) "any alteration" made to the Subject Property

  after January 26, 1992, must have been made so as to ensure that, to the maximum extent feasible,

  the altered portions of the Subject Property are readily accessible to and usable by individuals with

  disabilities, including individuals, like Ms. Munoz, who use wheelchairs. An alteration is deemed




  6
      42 U.S.C. § 12181(b)(2)(A)(iv)
  7
      42 U.S.C. § 12181(b)(2)(A)(ii)
  8
      42 U.S.C. § 12181(b)(2)(A)(iii)
  9
      as defined by 28 C.F.R. § 36.401(a)(2)

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Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 11 of 15




  to be undertaken after January 26, 1992, if the physical alteration of the property begins after that

  date.10

            36.      Pursuant to 28 C.F.R. § 36.304(a) Defendants shall remove all existing architectural

  barriers, including communication barriers that are structural in nature, where such removal is

  readily achievable.

            37.      28 C.F.R. § 36.304(d)(2)(i) controls with respect to the corresponding technical and

  scoping specification to which each element at the Subject Property must comply with or be

  modified to meet. Those are defined as follows:

                     a.       Elements that have not been altered since on or after March 15, 2012, must

                              comply with the 1991 Standards.

                     b.       Elements that have existed prior to and have not been altered since on or

                              after March 15, 2012 that do not comply with the 1991 Standards must be

                              modified (to the extent readily achievable) to comply with either the 1991

                              Standards or the 2010 Standards.

                     c.       Elements that have been altered on or after March 15, 2012 that do not

                              comply with the 1991 Standards must be modified (to the extent readily

                              achievable) to comply with the 2010 Standards.

            38.      Plaintiffs are not required to notify Defendants of their violation of the ADA nor

  their ongoing discrimination prior to the filing of this action. To that end, Plaintiffs have found

  that voicing concerns to employees and management, making phone calls, and writing letters is

  futile. In their experience the only way to spur action and achieve the accessibility required under



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       28 C.F.R. § 36.402(a)(2)

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Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 12 of 15




  the law is to file matters, like this one, and pray for the relief contained herein.

            39.      Ms. Munoz is without adequate remedy at law and is suffering irreparable harm,

  including bodily injury consisting of emotional distress, mental anguish, suffering, and

  humiliation. Considering the balance of hardships between the Plaintiffs and the Defendants, a

  remedy in equity is warranted. The public interest would not be disserved by the issuance of a

  permanent injunction.

            40.      Pursuant to 42 U.S.C. § 12205 and 28 C.F.R. § 36.505, Plaintiffs are entitled to

  recovery of attorney's fees, costs, and litigation expenses from the Defendants.

            41.      Pursuant to 42 U.S.C. § 12188(a)(2), this Court is provided with authority to grant

  Ms. Munoz injunctive relief, including an order to require the Defendants to alter the Subject

  Property and make the Subject Property readily accessible and useable to the Plaintiffs and all

  other persons with disabilities as defined by the ADA; or by closing the Subject Property until

  such time as the Defendants cure their violations of the ADA.11

            WHEREFORE, Plaintiffs respectfully request:

                     a.      The Court issue a Declaratory Judgment determining that the Defendants

                             are in violation of Title III of the ADA.

                     b.      Injunctive relief against the Defendants including an order to make all

                             readily achievable alterations to the facility; or to make such facility readily

                             accessible to and usable by individuals with disabilities to the extent

                             required by the ADA; and to require the Defendants to make reasonable

                             modifications in policies, practices or procedures, when such modifications



  11
       42 U.S.C. § 12188(b)(2)

                                                       12
Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 13 of 15




                             are necessary to afford all offered goods, services, facilities, privileges,

                             advantages or accommodations to individuals with disabilities; and by

                             failing to take such steps that may be necessary to ensure that no individual

                             with a disability is excluded, denied services, segregated or otherwise

                             treated differently than other individuals because of the absence of auxiliary

                             aids and services.

                     c.      An award of attorney’s fees, costs, and litigation expenses pursuant to 42

                             U.S.C. § 12205.

                     d.      Such other relief as the Court deems just and proper and is allowable under

                             Title III of the Americans with Disabilities Act.


                                                   COUNT II
                                  Violation of Colorado Anti-Discrimination Act,
                                         C.S.R. § 24-34-601 et seq. (CADA)
            42.      The Plaintiffs reallege and incorporate by reference all of the allegations contained

  in all of the preceding paragraphs.

            43.      Fabiola Munoz is a disabled individual as defined by C.S.R. § 24-34-301(2.5).

            44.      Defendants’ facility is a place of public accommodation as defined by C.S.R. § 24-

  34-601(1).

            45.      Colorado law provides that no person shall be discriminated against in regard to

  public accommodations on the basis of disability.12

            46.      Pursuant to C.S.R. § 24-34-602(1) Ms. Munoz is authorized to bring a private action

  in any court of competent jurisdiction and to receive monetary damages.


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       C.S.R. § 24-34-601(2)(b)

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Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 14 of 15




         47.     Pursuant to C. S. R. § 24-34-602(1)(b) a person who violates provisions of the

  CADA based on a disability "shall be subject to the provisions of section 24-34-802." C. S. R. §

  24-34-802 allows for a court order requiring compliance with the provisions of the violated section

  of the CADA, recovery of actual monetary damages, a statutory fine not to exceed three thousand

  five hundred dollars ($3,500.00), and an award of attorney fees and costs.

         48.     Pursuant to C.S.R. § 24-34-604 claims alleging violations of the CADA must be

  brought within sixty days (60) of the alleged discriminatory act, Ms. Munoz has done so here.

         49.     Pursuant to 3 CCR 708-1:60.1(A); the CADA, "is substantially equivalent to

  Federal law, as set forth in the Americans with Disabilities Act, as amended, and the Fair Housing

  Act concerning disability."

         50.     Pursuant to C.S.R. § 24-34-802(4); "a court that hears civil suits pursuant to this

  section shall apply the same standards and defenses that are available under the federal 'American

  with Disabilities Act of 1990', 42 U.S.C. § 12101 et seq., and its related amendments and

  implementing regulations."

         51.     As set forth above, Defendants have violated the Colorado Anti-Discrimination Act

  by denying Ms. Munoz, and all other disabled individuals, full and equal enjoyment of the goods,

  services, facilities, privileges, advantages, or accommodations afford to the public at a place of

  public accommodation.

         52.     As a result of the aforementioned discrimination through repeated exposure to

  architectural barriers and other harmful conditions, Ms. Munoz has sustained bodily injury in the

  form of emotional distress, mental anguish, suffering and humiliation.

         WHEREFORE, Plaintiffs respectfully request:

                 a.     That this Court assume jurisdiction.

                                                  14
Case 1:22-cv-01406-RM-SKC Document 1 Filed 06/03/22 USDC Colorado Page 15 of 15




                b.      The Court issue a Declaratory Judgment determining that the Defendants

                        are in violation of the CADA.

                c.      An injunction ordering Defendants to comply with the CADA.

                d.      An award of monetary damages to Ms. Munoz; to the maximum extent

                        permitted.

                e.      Reasonable attorney’s fees and costs.

                f.      An Order requiring the Defendants to maintain the required accessible

                        features at the Subject Property.

                g.      Other relief that this Court deems just and proper; and is allowable under

                        the CADA.



  Respectfully submitted on this 3rd day of June 2022,

                                                         /s/ Jon G. Shadinger Jr.
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